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Attorney for Plaintiff State Farm Mutual Automobile Insurance Company

                       UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF ALASKA AT ANCHORAGE

STATE FARM MUTUAL AUTOMOBILE )
INSURANCE COMPANY,            )
                              )
           Plaintiff,         )
                              )
     vs.                      )
                              )
RORY M. STARK AND UNITED      )
STATES FISH AND WILDLIFE,     )
                              )
           Defendants,        )

                                       COMPLAINT

               Plaintiff, State Farm Mutual Automobile Insurance Company, by and
through its undersigned attorney, alleges the following for its Complaint against
Defendants, Rory M. Stark and United States Fish and Wildlife.
                                  NATURE OF ACTION

               1.      This action for damages arises out of an automobile accident at or
near Anchorage, Alaska.
               2.      Plaintiff State Farm Mutual Automobile Insurance Company is an
insurance company duly conducting business under the laws of the State of Alaska, and is
fully qualified to maintain this action.
               3.      Defendant Rory M. Stark was, at all relevant times, a resident of
the State of Alaska within the Third Judicial District.



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                  4.      Defendant United States Fish and Wildlife is a governmental
agency doing business within the State of Alaska.
                                JURISDICTION AND VENUE

                  5.      This court has jurisdiction over this action under the Federal Tort
Claims Act, 28.U.S.C. §2671, ET. SEQ.
                                FIRST CLAIM FOR RELIEF
                              (RORY STARK – NEGLIGENCE)
                  6.      On or about July 21, 2011, at or near Anchorage, Alaska, the
Defendant, Rory Stark drove a vehicle in a careless and negligent manner and as an
actual and proximate result of said carelessness and negligence, collided with a vehicle
operated by State Farm’s insured, Maria Dias.
                  7.      Maria Dias filed a claim with her insurance company, Plaintiff
State farm, in order to recover damages sustained in the accident.
                  8.      As a result of the collision, personal injury and property damages
in excess of $17,858.32 were incurred, the exact sum to be proven at a later date.
                  9.      Plaintiff made payments to cover damages to date set forth above;
therefore entitling the Plaintiff, by contract and otherwise, to bring and maintain this
present action.
                               SECOND CLAIM FOR RELIEF
    (UNITED STATES FISH AND WILDLIFE – RESPONDEAT SUPERIOR)
                  10.     At the time of the collision, Defendant Rory M. Stark was
operating the vehicle within the scope and duty of her employment; Defendant United
States Fish and Wildlife is vicariously liable for Defendant Rory M. Stark’s negligence.
                                   REQUEST FOR RELIEF

                  State Farm requests that judgment be entered in its favor and against
Defendant, as follows:

                          A. For an award of actual damages in amount to be proven at trial,
                              together with interest;
                          B. For an award of actual costs and attorney’s fees;

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               C. For such other and further relief is appropriate.



               DATED this 6th day of March, 2014, at Anchorage, Alaska.




                                             /s/ Ralph Ertz________________
                                             Ralph Ertz, Attorney for Plaintiff
                                             Alaska Bar No. 8911062




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             Rory M. Stark and United States Fish and Wildlife
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